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  8                          IN THE UNITED STATES DISTRICT COURT
  9                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
 10

 11   SKOT HECKMAN, Luis Ponce, Jeanene               Case No.: 22-cv-00047-GW-GJS
      Popp, and Jacob Roberts, on behalf of
 12   themselves and all those similarly situated,    The Honorable George H. Wu
 13                          Plaintiffs,
                                                      DECLARATION OF SANDRA L.
 14          vs.                                      MUSUMECI IN SUPPORT OF NONPARTY
                                                      NEW ERA ADR, INC.’S MOTION TO
 15   LIVE NATION ENTERTAINMENT, INC.                 QUASH PORTIONS OF PLAINTIFFS’
      and TICKETMASTER LLC,                           SUBPOENAS
 16
                             Defendants.              Hearing Date: November 7, 2022
 17                                                   Hearing Time: 8:30 a.m.
                                                      Courtroom:    9D, 9th Floor
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                                                     -1-                           Case No.: 22-cv-00047-GW-GJS
       DECLARATION OF SANDRA L. MUSUMECI IN SUPPORT OF NONPARTY NEW ERA ADR'S MOTION TO QUASH PORTIONS OF
                                              PLAINTIFFS' SUBPOENAS
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  1             I, SANDRA L. MUSUMECI, declare as follows:
  2             1.    I am a partner with the law firm of Riley Safer Holmes & Cancila LLP, attorneys
  3   for nonparty New Era ADR, Inc. (“New Era”). I am an attorney in good standing in the States of
  4   New York and New Jersey. I make this Declaration in support of Nonparty New Era’s Motion to
  5   Quash Portions of Plaintiffs’ Subpoenas, and I have personal knowledge of the facts set forth
  6   herein.
  7             2.    On or about June 15, 2022, New Era learned that its registered agent had been
  8   served by Plaintiffs Skot Heckman, Luis Ponce, Jeanene Popp, and Jacob Roberts (collectively
  9   “Plaintiffs”) with a Subpoena to Testify at a Deposition in a Civil Action (“Deposition
 10   Subpoena). Upon review, it became clear that Plaintiffs had also intended to serve New Era with
 11   a subpoena for documents, as the Deposition Subpoena referenced documents to be produced by
 12   New Era. Attached hereto as Exhibit A is a true and correct copy of the Deposition Subpoena,
 13   served on New Era by Plaintiffs.
 14             3.    On June 29, New Era reached out to Plaintiffs via counsel to inquire, and New Era
 15   accepted service of the Document Subpoena by email later that same day. The parties agreed that
 16   New Era’s responses and objections would be due on August 1, 2022. Attached hereto as
 17   Exhibit B is a true and correct copy of said email correspondence.
 18             4.    Attached hereto as Exhibit C is a true and correct copy of the Subpoena to
 19   Produce Documents (“Document Subpoena”), served on New Era by Plaintiffs.
 20             5.    New Era agreed to meet and confer remotely with Plaintiffs on July 20, 2022, even
 21   before its responses and objections were due, in the hopes of narrowing the scope of the
 22   subpoenas and talking through areas of dispute. Plaintiffs did not agree at that time to narrow or
 23   withdraw any requests but did propose that it might offer search terms to narrow the scope of
 24   Request for Documents No. 10.
 25             6.    Attached hereto as Exhibit D is a true and correct copy of New Era’s timely
 26   responses and objections to Plaintiffs’ Deposition Subpoena.
 27             7.    Attached hereto as Exhibit E is a true and correct copy of New Era’s timely
 28   objections and responses to Plaintiffs’ Document Subpoena.
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       DECLARATION OF SANDRA L. MUSUMECI IN SUPPORT OF NONPARTY NEW ERA ADR'S MOTION TO QUASH PORTIONS OF
                                              PLAINTIFFS' SUBPOENAS
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  1          8.      New Era has met and conferred with Plaintiffs multiple times, both before and
  2   following service of its responses and objections to the subpoenas. These meet and confer
  3   sessions included calls on July 20, 2022 (as noted), August 9, 2022, and August 31, 2022, as well
  4   various as written email correspondence. Attached hereto as Exhibit F is a true and correct copy
  5   of said meet and confer correspondence.
  6          9.      Attached hereto as Exhibit G is a true and correct copy of a hearing transcript
  7   reflecting a district court’s ruling on the scope of discovery against nonparty Conflict Prevention
  8   and Resolution, Inc. (“CPR”) in the case of Abernathy v. DoorDash, Case No. 3:19-cv-07545-
  9   WHA (N.D.Cal.).
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 11          I declare under penalty of perjury that the foregoing is true and correct. Executed on this
 12   26th day of September, 2022.
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                                                            _s/Sandra L. Musumeci_________________
 15                                                                SANDRA L. MUSUMECI
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                                                      -3-                          Case No.: 22-cv-00047-GW-GJS
       DECLARATION OF SANDRA L. MUSUMECI IN SUPPORT OF NONPARTY NEW ERA ADR'S MOTION TO QUASH PORTIONS OF
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